                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF ARIZONA

       In re: BADGLEY, RODNEY LEE                                        §   Case No. 2:16-02763-MCW
              BADGLEY, CHRISTINE WETJEN                                  §
                                                                         §
   Debtor(s)                                                             §

                NOTICE OF AMENDED TRUSTEE'S FINAL REPORT AND
                       APPLICATIONS FOR COMPENSATION
                        AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       JILL H. FORD                               , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             230 North First Avenue
             Suite 101
             Phoenix, AZ 85003-1706

       Any person wishing to object to any fee application that has not already been approved or to the
       Final Report, must file a written objection within 21 days from the mailing of this notice. The
       proposed distribution is dependent on the Court's ruling on the allowance of Administrative
       expenses, additional Court costs, remaining contests of claims, and additional interest.

       Objections must be in writing and filed with a request for a hearing with the Clerk, U.S.
       Bankruptcy Court , 230 North First Avenue, Suite 101, Phoenix, AZ 85003-1706 ,the Trustee
       Jill H. Ford, P.O. Box 5845, Carefree, AZ 85377 , and the United States Trustee, 230 N. 1st
       Ave., Suite 204, Phoenix, Az. 85003-1706. If no objections are filed, the Court will act on the
       fee applications and the trustee may pay dividends pursuant to FRBP 3009 without further order
       of the Court.




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      Date Mailed:   / /                 By: /s/JILL H. FORD
                                                                Trustee
       JILL H. FORD
        P.O. Box 5845
       CAREFREE, AZ 85377
       (480) 575-8250




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                                      UNITED STATES BANKRUPTCY COURT
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              In re: BADGLEY, RODNEY LEE                                                     §       Case No. 2:16-02763-MCW
                     BADGLEY, CHRISTINE WETJEN                                               §
                                                                                             §
        Debtor(s)                                                                            §

                           SUMMARY OF AMENDED TRUSTEE'S FINAL REPORT
                              AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                          $          16,409.48

                     and approved disbursements of                                               $          12,098.96
                                                            1
                     leaving a balance on hand of                                                $            4,310.52

                                                          Balance on hand:                                   $              4,310.52
                Claims of secured creditors will be paid as follows:

Claim           Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
No.                                                          Asserted       of Claim          to Date                        Payment
                                                                 None
                                                          Total to be paid to secured creditors:             $                  0.00
                                                          Remaining balance:                                 $              4,310.52

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                          Total Requested Interim Payments                  Proposed
                                                                                                    to Date                 Payment
Trustee, Fees - JILL H. FORD                                                        2,330.95              1,959.90              371.05
Trustee, Expenses - JILL H. FORD                                                        46.23                 46.23               0.00
Attorney for Trustee, Fees - WITTHOFT DERKSEN                                       4,772.40              4,772.40                0.00
Attorney for Trustee, Expenses - WITTHOFT DERKSEN                                     262.80                262.80                0.00
Charges, U.S. Bankruptcy Court                                                        260.00                     0.00           260.00
                                 Total to be paid for chapter 7 administration expenses:                     $                631.05
                                 Remaining balance:                                                          $              3,679.47




                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                                Total Requested Interim Payments          Proposed
                                                                                          to Date         Payment
                                                         None
                               Total to be paid for prior chapter administrative expenses:     $              0.00
                               Remaining balance:                                              $          3,679.47

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $18,371.76 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                         Allowed Amount Interim Payments            Proposed
No                                                                     of Claim          to Date           Payment
  4P           STATE OF ARIZONA                                        18,371.76             4,890.52       3,679.47
                                                   Total to be paid for priority claims:       $          3,679.47
                                                   Remaining balance:                          $              0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 579,908.84 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                         Allowed Amount Interim Payments            Proposed
No                                                                     of Claim          to Date           Payment
  1            Fleetco, Inc.                                          513,449.56                   0.00           0.00
  2            American Express Bank FSB                               39,155.85                   0.00           0.00
  3            BB&T Commercial Equipment Capital Corp.                 27,303.43                   0.00           0.00
                               Total to be paid for timely general unsecured claims:           $              0.00
                               Remaining balance:                                              $              0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                          Allowed Amount Interim Payments                Proposed
No                                                                      of Claim          to Date               Payment
                                                          None
                              Total to be paid for tardy general unsecured claims:                $                    0.00
                              Remaining balance:                                                  $                    0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 2,336.07 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                          Allowed Amount Interim Payments                Proposed
No                                                                      of Claim          to Date               Payment
  4U           STATE OF ARIZONA                                            2,336.07                   0.00               0.00
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/JILL H. FORD
                                                                                             Trustee

             JILL H. FORD
              P.O. Box 5845
             CAREFREE, AZ 85377
             (480) 575-8250



             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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